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    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                   Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                            DECLARATIONS OF MARK S.
                   Plaintiff,                    LEE AND WEIWEI LE IN
   15                                            SUPPORT OF DEFENDANT
            v.                                   INTERFOCUS, INC. D.B.A.
   16                                            WWW.PATPAT.COM’S MOTION
      INTERFOCUS, INC. d.b.a.                    FOR:
   17 www.patpat.com, a Delaware
      Corporation; CAN WANG, and                 1) SUMMARY JUDGMENT ON
   18 individual, and DOES 1-10, inclusive.,        COPYRIGHT INFRINGEMENT
                                                    CLAIMS IN PLAINTIFF’S
   19              Defendants.                      COMPLAINT; AND
   20                                            2) PARTIAL SUMMARY
      INTERFOCUS, INC. d.b.a.                       JUDGMENT ON
   21 www.patpat.com, a Delaware                    COUNTERCLAIM;
      Corporation; CAN WANG, an                     MEMORANDUM OF POINTS
   22 individual, and DOES 1-10, inclusive,         AND AUTHORITIES IN
                                                    SUPPORT THEREOF
   23              Counterclaim Plaintiffs,      Date: August 16, 2021
             v.                                  Time: 10:00 am
   24                                            Courtroom: Courtroom 8D
   25 NEMAN BROTHERS & ASSOC.,                   The Hon. Christina A. Snyder
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
   28

                       COMBINED DECLARATIONS OF MARK S. LEE AND WEIWEI LE
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    1                         DECLARATION OF MARK S. LEE
    2         I, Mark S. Lee, declare:
    3         1.    I am a lawyer admitted to practice before this Court, and am a partner
    4 at Rimon, P.C., counsel of record for Interfocus, Inc. d.b.a. www.patpat.com
    5 (“Interfocus”) in this matter. I have personal knowledge of the following facts
    6 except where otherwise indicated based on my personal participation in the matters
    7 described, and if called upon as a witness, I could and would competently testify
    8 thereto.
    9         2.    On June 4, 2021, I personally searched the Westlaw database of look
   10 for copyright infringement suits brought by Neman Brothers & Associates, Inc. The
   11 Westlaw database includes various kinds of information, including information on
   12 complaints filed in the Central District of California. An online search of this
   13 Court’s Docket as recorded in the Westlaw database using the “Neman Brothers”
   14 and “copyright” search terms revealed 94 such complaints. A true and correct copy
   15 of the listing I printed out from my search is attached as Exhibit 1.
   16         3.    After printing out Exhibit 1, I manually reviewed over 20 of the
   17 complaints, and briefly reviewed the dockets of proceedings in the actions initiated
   18 by those complaints. The complaints and actions I reviewed all involved copyright
   19 infringement suits brought by Neman Brothers, which identified itself as a
   20 California corporation, against retailers or other defendants who were alleged to
   21 have infringed Neman Brothers’ copyrights in fabric designs for goods
   22 manufactured in China. The dockets of the actions I reviewed indicated that they
   23 were all settled on confidential terms.
   24         I declare under penalty of perjury under the laws of the United States that the
   25 foregoing is true and correct. Executed this 13th_ day of July, 2021, at Los
   26 Angeles, California.
   27
                                                      /s/ Mark S. Lee
   28                                                 Mark S. Lee
                                                  2
                        COMBINED DECLARATIONS OF MARK S. LEE AND WEIWEI LE
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    1                             DECLARATION WEIWEI LE
    2         I, Weiwei Le, declare:
    3         1.    I am the Director of Operations for InterFocus Inc. (“Interfocus”). I
    4 have worked for InterFocus since 2017. I have personal knowledge of the following
    5 facts except where otherwise indicated, and if called upon as a witness, I could and
    6 would competently testify thereto.
    7 2.      In my capacity as Director of Operations for InterFocus over the past five
    8 years, I have become familiar with the business of InterFocus. InterFocus sells
    9 goods to consumers exclusively through its website at https://us.patpat.com/.
   10 InterFocus is a U.S. company that sells to U.S. consumers, but it does not
   11 manufacture the goods it sells, all of which come from other companies, including
   12 suppliers located in China. InterFocus also outsources many of its IT, shipping and
   13 other business functions, I handle various business issues for Interfocus, such as
   14 Legal, HR, Accounting, and projects that need to be coordinated between Interfocus
   15 and the Chinese companies with whom it does business in delivering the goods
   16 offered for sale on its online platform.
   17 3.      As the Director of Operations, I also work closely with InterFocus’ attorneys
   18 for U.S. legal issues, including two lawsuits that Neman Brothers filed against
   19 InterFocus. For the two Neman Brothers’ cases, my involvement includes, but was
   20 and is not limited to, reviewing and forwarding all the physical letters that Interfocus
   21 receives from Neman Brothers; investigations in response to questions raised by
   22 opposing counsel or InterFocus’ attorneys; following up on and obtaining the
   23 answers to all questions raised in the litigation to the extent that information is
   24 within InterFocus’ possession, custody, or control; coordinating with InterFocus’
   25 employees and, as needed, other companies with whom InterFocus does business to
   26 obtain information. I am also responsible for gathering factual information and
   27 collecting documents relating to the lawsuits.
   28

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                         COMBINED DECLARATIONS OF MARK S. LEE AND WEIWEI LE
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    1         2.    As I mentioned above, this case is not the first time InterFocus has been
    2 sued by Neman Brothers. Neman Brothers first sued InterFocus for copyright
    3 infringement in an earlier action also called Neman Brothers & Assoc. Inc v.
    4 Interfocus, Inc., Case No. 2:19-CV-10112 that was filed in 2019.
    5         3.    Although InterFocus did not believe it was liable for copyright
    6 infringement in the earlier action, the investigation into the volume of sales I
    7 supervised indicated that very few goods that Neman Brothers had alleged infringed
    8 its copyrights had been sold by InterFocus, and thus that spending money to defend
    9 the case did not make economic sense. Due to the low volume of sales of the
   10 allegedly infringed goods, and to avoid paying litigation-related legal fees in a
   11 dispute in which little was at stake, InterFocus decided to settle Neman Brothers’
   12 suit for what we considered a “nuisance value” amount. InterFocus entered into a
   13 confidential settlement agreement with Neman Brothers for that reason.
   14         4.    Because the settlement agreement is confidential, I cannot describe all
   15 of its terms here. However, among other things, that settlement agreement released
   16 InterFocus from liability for all copyright infringement claims Neman Brothers
   17 asserted or could have asserted in that action. Neman Brothers also agreed that it
   18 will not file suit for future infringements until 30 days after it gave InterFocus
   19 written notice of them, so that InterFocus could cure them by removing the allegedly
   20 infringing goods from its website platform within seven business days as described
   21 in the settlement agreement. The terms are, of course, set forth in the settlement
   22 agreement itself. A true and correct but redacted copy of the settlement agreement
   23 signed by the CEO of InterFocus is attached is Exhibit 2; a complete copy of the
   24 settlement agreement is concurrently filed under seal as Exhibit 3. As the Court can
   25 see, that agreement was executed in March 2020.
   26         5.    InterFocus has fully complied with its obligations under that settlement
   27 agreement since entering into it.
   28

                                                  4
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    1        6.       In September 2020, InterFocus received a letter from the same attorney
    2 who had represented Neman Brothers in the prior litigation. I personally reviewed
    3 that letter. In it, Neman Brothers’ attorney claimed that InterFocus had engaged in
    4 additional copyright infringements. A true and correct copy of that letter is attached
    5 as Exhibit 4.
    6        7.       I personally investigated those claims, so that InterFocus could cure
    7 any alleged infringement as provided in the previous settlement agreement attached
    8 as Exhibits 2 and 3. I requested that, to the extent Interfocus was selling any of the
    9 allegedly infringing goods on its website platform, those goods be removed from its
   10 website immediately. I also requested that I be provided with all available
   11 information concerning the extent of such sales, when InterFocus had stopped
   12 selling the allegedly infringing goods. Once I was advised that goods had been
   13 removed from InterFocus’ platform as I directed, I personally reviewed the
   14 InterFocus website to confirm that the allegedly infringing goods had been removed.
   15        8.       As stated in the September 2020 letter (Exhibit 4), Neman Brothers
   16 alleged copyright infringement of the following fabric patterns on the following
   17 goods:
   18
   19
   20
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                          COMBINED DECLARATIONS OF MARK S. LEE AND WEIWEI LE
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    1         9.     I was informed that all of the above alleged infringements were
    2 removed from InterFocus’ online platform within a few days after receiving Neman
    3 Brothers’ September 2020 letter. My own review of the InterFocus platform
    4 confirmed such removal.
    5         10.    In addition, our investigation determined that three of the alleged
    6 infringements had been removed from InterFocus’ online platform since before
    7 InterFocus entered into the settlement agreement with Neman Brothers in March
    8 2020. Those three alleged infringements are as follows:
    9
   10
   11
   12
   13
              11.    Our investigation had determined that we did have the other three
   14
        fabric patterns on our online platform as of the date of the September 2020 letter:
   15
   16
   17
   18
   19
   20
              12.    My personal review of InterFocus’ online platform confirmed that they
   21
        were removed from InterFocus’ platform within seven business days of our receipt
   22
        of Neman Brothers’ September 2020 letter as described above.
   23
              13.    Once I confirmed that InterFocus had removed the alleged
   24
        infringements from its platform as provided in the previous settlement agreement, I
   25
        asked InterFocus’ then counsel to so advise Neman Brothers in a letter. Attached as
   26
        Exhibit 5 is a true and correct copy of the letter dated October 5, 2020 sent to
   27
        Neman Brother’s counsel.
   28

                                                   6
                         COMBINED DECLARATIONS OF MARK S. LEE AND WEIWEI LE
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    1        14.      In connection with our investigation, I requested that a chart be
    2 prepared that included all six of the alleged infringing garments described in the
    3 September 2020 letter and when each garment had been removed from InterFocus’
    4 online platform, I provided InterFocus’ then counsel with an early version of that
    5 chart, and it appears in Exhibit 5. However, further investigation determined that in
    6 two instances, the dates on which the alleged infringements were removed from
    7 InterFocus’ platform were erroneously stated to be 2020, when in fact, they had
    8 been removed even earlier in 2019. An updated chart that truly and accurately
    9 describes when all six of the alleged infringements Neman Brothers described in its
   10 September 15, 2020 letter were removed from InterFocus’ platform is set forth
   11 below:
   12
   13        ID No.                      Image                      Take Down Date

   14        45696                                                        9/16/2020

   15
   16
   17
             458707                                                       9/17/2020
   18
   19        385561                                                       7/22/2019

   20
   21
             458707                                                       9/17/2020
   22
   23
   24
             399267                                                       9/14/2020
   25
   26
   27        414159                                                       8/28/2019

   28

                                                   7
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     1


    2                  15.     After the October response letter, through their counsel, Neman
     a
     J     Brothers and InterFocus tried to settle their dispute by negotiating an overall license
     4     agreement between them, but they were not able to do so. I am not aware of any

     5     written claim of new alleged infringements in those settlement discussions. Neman
     6     Brothers filed its complaint alleging copyright infringement against InterFocus on
     7         December      9,2020.I was confused by the complaint,      because   it identified the same
     8         alleged infringements Neman Brothers had identified in its September 15,2020

     9         letter (Exhibit 4), even though we had removed all of those alleged infringements
   10          from our platform before we entered into the previous settlement agreement or
   11          within seven business days after receiving Neman Brothers' September 15,2020
   t2 letter          as   provided in the settlement agreement.
   13                  16.
                    I understand Neman Brothers later amended its complaint on January 6,
   \4 2O2l to add new alleged infringements that Neman Brothers had not identified in
   15 the initial complaint (Exhibit 6) or September 2020letter (Exhibit 4). InterFocus

   t6 received no notice of those alleged infringements before Neman Brothers added
   t7 those claims to its First Amended Complaint (Exhibit 7). Although we had received
   18      I   no   *ritten notification of alleged infringement regarding these new claims, we
    19         nevertheless removed those new alleged infringements from InterFocus' online

   20 platform as well, and completed that removal by February 17,2021.

   21                  17.      I have spent more than 100 hours on this Neman Brothers case.
   22          InterFocus has also incurred significant legal fees defending this action'
    -/-)             I declare under penalty of perjury under the laws of the United States that the
    24         foregoing is true and correct. Executed this l2th day of July, 2021, at
    25                                   Ca

    26

    27                                                                   Weiwei Le
    28


                                    COMBINED DECLARATIONS OF MARK   S.   LEE AND WEIWEI LE
